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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

XINHUA WEI, derivatively on behalf of
FASTLY, INC.,

                Plaintiff,

      v.
                                         Civil Action No. 20-cv-01773-MN
JOSHUA BIXBY, ADRIEL LARES, AIDA
ÁLVAREZ, ARTUR BERGMAN, SUNIL
DHALIWAL, DAVID M. HORNIK,
CHRISTOPHER B. PAISLEY, and KELLY
BRESLIN WRIGHT,

                Defendants,


      and

FASTLY, INC.,

             Nominal Defendant.


KRISTEN GORENBERG, derivatively on
behalf of FASTLY, INC.,

                Plaintiff,
                                         Civil Action No. 21-cv-00136-MN
      v.

JOSHUA BIXBY, ADRIEL LARES, ARTUR
BERGMAN, DAVID HORNIK, AIDA
ALVAREZ, SUNIL DHALIWAL,
CHRISTOPHER PAISLEY, and KELLY B.
WRIGHT,

                Defendants,


FASTLY, INC.,

             Nominal Defendant.
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                STIPULATION AND ORDER CONSOLIDATING
   RELATED DERIVATIVE ACTIONS, APPOINTING LEADERSHIP, AND STAYING
   CONSOLIDATED CASE PENDING RESOLUTION OF THE MOTION TO DISMISS
               IN THE RELATED SECURITIES CLASS ACTION

       WHEREAS, on December 28, 2020, Plaintiff Xinhua Wei (“Wei”) filed a shareholder

derivative complaint, captioned Wei v. Bixby, et al., Case No. 20-cv-01773-MN (the “Wei

Action”), on behalf of nominal defendant Fastly, Inc. (“Fastly” or the “Company”), against Joshua

Bixby, Adriel Lares, Aida Álvarez, Artur Bergman, Sunil Dhaliwal, David M. Hornik, Christopher

B. Paisley, and Kelly Breslin Wright (collectively, the “Individual Defendants,” together with the

Company, the “Defendants”) for breach of fiduciary duties, unjust enrichment, abuse of control,

gross mismanagement, and waste of corporate assets, as well as claims against Joshua Bixby and

Adriel Lares for contribution under Section 10(b) and Section 21D of the Securities Exchange Act

of 1934 (“Exchange Act”) (the “Wei Complaint”);

       WHEREAS, on February 2, 2021, Plaintiff Kristen Gorenberg (“Gorenberg,” and with

Wei, the “Plaintiffs”) filed a shareholder derivative complaint, captioned Gorenberg v. Bixby, et

al., Case No. 21-cv-00136-MN (the “Gorenberg Action,” and with the Wei Action, the “Related

Derivative Actions”), on behalf of nominal defendant Fastly, against the Individual Defendants for

breach of fiduciary duties, unjust enrichment, and waste of corporate assets (the “Gorenberg

Complaint”);

       WHEREAS, pursuant to an order dated January 19, 2021, the Defendants’ response to the

Wei Complaint is due on or before March 22, 2021;

       WHEREAS, pursuant to Fed. R. of Civ. P. 4 and 12, the Defendants’ response to the

Gorenberg Complaint is due on April 5, 2021;

       WHEREAS, under Fed. R. Civ. P. 42(a), when actions involve “a common question of law


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or fact,” the Court may “(1) join for hearing or trial any or all matters at issue in the actions; (2)

consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay”;

       WHEREAS, the Related Derivative Actions challenge similar alleged misconduct by the

Individual Defendants and involve common questions of law and fact;

       WHEREAS, to avoid potentially duplicative actions and to preserve both public and private

resources, the parties have met and conferred and agree that the Related Derivative Actions should

be related and consolidated for all purposes, including pre-trial proceedings and trial, into a single

consolidated action (hereinafter referred to as the “Consolidated Derivative Action”);

       WHEREAS, on August 27, 2020 a purported class action was filed in the United States

District Court for the Northern District of California against Fastly, Joshua Bixby, and Adriel

Lares, alleging violations of the Exchange Act, captioned Betancourt v. Fastly, Inc., et al., Case

No. 4:20-cv-06024-PJH (“Betancourt Action”);

       WHEREAS, on September 15, 2020, another class action was filed against Fastly, Inc.

Joshua Bixby, and Adriel Lares asserting substantially similar factual allegations and the same

claims as the Betancourt Action, captioned Habib v. Fastly, Inc., et al., Case No. 4:20-cv-06454-

PJH, (“Habib Action”);

       WHEREAS, by Order dated October 27, 2020, the Betancourt and Habib Actions were

consolidated. The consolidated class action is captioned In re Fastly, Inc. Securities Litigation,

4:20-cv-06024-PJH (the “Consolidated Class Action”) (Consolidated Class Action D.I. 53);

       WHEREAS, defendants in the Consolidated Class Action intend to file a motion to dismiss

the Consolidated Class Action and, if any amended complaints are filed therein, those defendants

intend to file a motion to dismiss the amended complaint(s) as well;

       WHEREAS, the Plaintiffs and the Defendants in the Consolidated Derivative Action

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(collectively, the “Parties”) have met and conferred regarding the most efficient manner in which

to proceed;

       WHEREAS, there is substantial overlap between the facts and circumstances alleged in the

Consolidated Class Action and the Consolidated Derivative Action;

       WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and

for litigants, the Parties have agreed that, in light of the overlap between the Consolidated Class

Action and the Consolidated Derivative Action, the Consolidated Derivative Action should be

voluntarily stayed on the terms set forth below unless and until either (1) the Consolidated Class

Action is dismissed, with prejudice, and all appeals related thereto have been exhausted; or (2) the

motion to dismiss the Consolidated Class Action is denied in part or in full;

       WHEREAS, the Parties agree that the Defendants need not answer, move, or otherwise

respond to the Complaint in the Consolidated Derivative Action until after the entry of any order(s)

on a motion to dismiss the Consolidated Class Action; and

       WHEREAS, the Parties agree that within fourteen (14) days of the date the stay is lifted in

the Consolidated Derivative Action, the Parties will meet and confer in good faith and submit a

proposed scheduling order governing further proceedings in the Consolidated Derivative Action,

which will be subject to approval by the Court.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties

hereto, through their undersigned counsel, as follows:

       1.      The following actions shall be consolidated for all purposes, including pre-trial

proceedings and trial, into one action, the Consolidated Derivative Action:




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        Case Name                           Case No.                    Date Filed
        Wei v. Bixby, et al.                20-cv-01773-MN              December 28, 2020

        Gorenberg v. Bixby, et al.          21-cv-00136-MN              February 2, 2021


       2.      Every pleading filed in the Consolidated Derivative Action, or in any separate

actions included herein, shall bear the following caption:

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re FASTLY, INC. SHAREHOLDER                   )    Lead Case No. 20-cv-01773-MN
DERIVATIVE LITIGATION                            )
                                                 )    (Consolidated)
                                                 )
This Document Relates To:                        )
                                                 )
ALL ACTIONS                                      )
                                                 )
                                                 )


       3.      The files of the Consolidated Derivative Action will be maintained in one file under

Lead Case No. 20-cv-01773-MN.

       4.      This Order shall apply to any purported stockholder derivative action on behalf of

nominal defendant Fastly, Inc., arising out of the same or substantially the same transactions or

events as the Consolidated Derivative Action that is subsequently filed in, removed to, or

transferred to this Court (“Related Derivative Action”).

       5.      Defendants shall promptly notify Plaintiffs if and once they become aware of any

Related Derivative Action.

       6.      If a Related Derivative Action is hereafter filed in this Court, removed to this Court,

or transferred here from another court, Lead Counsel shall promptly call to the attention of the


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Clerk of the Court the filing or transfer of any case, which might properly be consolidated as part

of In re Fastly, Inc. Shareholder Derivative Litigation, Lead Case No. 20-cv-01773-MN.

        7.      The Rosen Law Firm, P.A., the firm resume of which is attached hereto as Exhibit

A, shall serve as Lead Counsel for plaintiffs in the Consolidated Derivative Action. Lead Counsel

shall have authority to speak for plaintiffs in matters regarding pre-trial and trial procedure and

settlement negotiations and shall make all work assignments in such manner as to facilitate the

orderly and efficient prosecution of the Consolidated Derivative Action and to avoid duplicative

or unproductive efforts.

        8.      Farnan LLP shall serve as liaison counsel for plaintiffs in the Consolidated

Derivative Action.

        9.      Defendants’ counsel may rely upon all agreements made with Lead Counsel, and

such agreements shall be binding on all plaintiffs in the Consolidated Derivative Action.

        10.     Except as noted below, all motion practice, any obligation to respond to the Wei

Complaint or the Gorenberg Complaint or any amended complaint, and all discovery and

disclosure obligations under the applicable local and federal rules in the Consolidated Derivative

Action shall be temporarily stayed until the entry of an order denying in part or in full the

anticipated motion to dismiss in the Consolidated Class Action, or a final order dismissing the

Consolidated Class Action with prejudice, or until otherwise agreed to by the Parties, but subject

to each Party’s right (i) to move the Court to lift or extend the stay, and (ii) to oppose such motions

to lift or extend the stay.

        11.      Defendants shall promptly notify plaintiffs if any Related Derivative Action is not

stayed for a similar or longer duration than the stay of the Consolidated Derivative Action.

        12.     If a Related Derivative Action, wherever instituted, is not stayed for the same or

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longer duration than the stay of the Consolidated Derivative Action, Plaintiffs have the option to

terminate the stay by giving thirty (30) days’ notice to the undersigned counsel for Defendants via

email.

         13.   While the Consolidated Derivative Action is stayed and during the 12-month period

that begins upon the termination of the stay, in the event that a mediation and/or formal settlement

talks take place in regard to the Consolidated Class Action or any Related Derivative Action,

Defendants will provide reasonable advance notice of, and shall make a good faith effort to include

plaintiffs in the mediation and/or formal settlement talks; however, in the event that plaintiffs are

not included in such a mediation, Defendants shall mediate and/or have formal settlement

discussions with plaintiffs at or about the same time.

         14.   While the Consolidated Derivative Action is stayed and subject to the execution of

an appropriate confidentiality agreement and/or protective order, Defendants shall promptly

produce to Plaintiffs copies of any documents, written discovery, and deposition transcripts

produced in any Related Derivative Actions and shall promptly produce to Plaintiffs copies of any

documents produced to any purported shareholder in response to a books and records demand if

the shareholder(s) who issued a books and records demand files a shareholder derivative action.

         15.   Notwithstanding this stay, Plaintiffs may file an amended complaint, although

Defendants shall be under no obligation to respond to the amended complaint during the pendency

of the stay.

         16.   Within fourteen (14) days after the date that the stay is lifted, the Parties shall meet

and confer and submit a proposed scheduling order governing further proceedings in the

Consolidated Derivative Action, including designation of an operative complaint and the date by

which Defendants must answer, move, or otherwise respond to the designated operative complaint

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or any consolidated amended complaint.

         17.   After the stay is lifted, Defendants shall not move to stay the Consolidated

Derivative Action in deference to any other derivative action.

         18.   The Parties do not seek this stay of proceedings for the purpose of delay, and the

unopposed stay will not have an effect on any pre-trial dates as the Court has yet to schedule the

dates.

         19.   The Parties are not waiving any rights, claims, or defenses of any kind except as

expressly stated herein, and the Parties reserve the right to seek further extensions of time as

circumstances may warrant, subject to the Court’s approval.

         20.   Pursuant to Fed. R. Civ. P. 5(b)(2)(E)-(F), service by email transmission shall be

permitted in addition to service via ECF notification. For non-CM/ECF participants, service shall

be deemed effective upon transmission of email.

 Dated: March 5, 2021                                 Respectfully submitted,

                                                      FARNAN LLP
 OF COUNSEL:
                                                      /s/ Michael J. Farnan
 THE ROSEN LAW FIRM, P.A.                             Michael J. Farnan (Bar No. 5165)
 Phillip Kim                                          Brian E. Farnan (Bar No. 4089)
 275 Madison Avenue, 40th Floor                       919 N. Market St., 12th Floor
 New York, NY 10016                                   Wilmington, DE 19801
 Tel: (212) 686-1060                                  Tel: (302) 777-0300
 pkim@rosenlegal.com                                  bfarnan@farnanlaw.com
                                                      mfarnan@farnanlaw.com
 [Proposed] Lead Counsel
                                                      Counsel for Plaintiff Wei and [Proposed] Liason
 THE BROWN LAW FIRM, P.C.                             Counsel
 Timothy Brown
 240 Townsend Square
 Oyster Bay, NY 11771
 Tel: (516) 922-5427
 tbrown@thebrownlawfirm.net


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                                                BIELLI & KLAUDER, LLC
OF COUNSEL:
                                                /s/ Ryan M. Ernst
MOORE KUEHN, PLLC                               David M. Klauder (No. 5769)
Justin A. Kuehn                                 Ryan M. Ernst (No. 4788)
Fletcher W. Moore                               1204 N. King Street
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New York, NY 10005                              (302) 803-4600
Tel: (212) 709-8245                             dklauder@bk-legal.com
jkuehn@moorekuehn.com                           rernst@bk-legal.com
fmoore@moorekuehn.com
                                                Counsel for Plaintiff Gorenberg



OF COUNSEL:                                     MCCARTER & ENGLISH, LLP

COOLEY LLP                                      /s/ Sarah E. Delia
                                                Michael P. Kelly (#2295)
Jessica Valenzuela Santamaria                   Sarah E. Delia (#5833)
Brett H. De Jarnette                            Renaissance Centre
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Palo Alto, CA 94304-1130
                                                Tel: (302) 984-6300
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jvs@cooley.com
                                                sdelia@mccarter.com
bdejarnette@cooley.com
jfernandes@cooley.com
                                                Counsel for Defendants



            *                   *                   *                     *


      SO ORDERED this WKday of 0DUFK2021.


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                  EXHIBIT A
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                                THE ROSEN LAW FIRM P.A.
                                      BIOGRAPHY

I.     ATTORNEYS

LAURENCE ROSEN - MANAGING PARTNER

       Laurence Rosen is a 1988 graduate of New York University School of Law. He earned

an M.B.A. in finance and accounting at the University of Chicago Graduate School of Business

and a B.A. in Economics from Emory University. Mr. Rosen served as a law clerk to the

Honorable Stanley S. Brotman, Senior United States District Judge for the District of New

Jersey. Mr. Rosen entered private practice as an associate at the law firm of Skadden Arps Slate

Meagher & Flom in New York City where he participated in a number of complex securities

class action and derivative litigation matters. He later served as an associate at McCarter &

English in Newark, New Jersey where he specialized in securities and business litigation.

       After practicing general securities and commercial litigation in New York City with

Solton Rosen & Balakhovsky LLP, Mr. Rosen founded The Rosen Law Firm to represent

investors exclusively in securities class actions and derivative litigation. Mr. Rosen is admitted

to practice law in New York, California, Florida, New Jersey and the District of Columbia. Mr.

Rosen is also admitted to practice before numerous United States District Courts throughout the

country and the United States Court of Appeals for the Second, Fourth, and Sixth Circuits.

       In 2019 and 2020 Lawdragon named Mr. Rosen as one of the 500 Leading Plaintiff

Financial Lawyers. Mr. Rosen was also named by law360 as Titan of Plaintiffs’ Bar for 2020.

PHILLIP KIM – PARTNER

       Mr. Kim graduated from Villanova University School of Law in 2002. He received a

B.A. in Economics from The Johns Hopkins University in Baltimore, Maryland in 1999. Prior to

joining The Rosen Law Firm, Mr. Kim served as Assistant Corporation Counsel for the City of

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New York in the Special Federal Litigation Division. In that position, Mr. Kim defended a

number of class action lawsuits, litigated numerous individual actions, and participated in more

than seven trials. Mr. Kim focuses his practice on securities class actions and shareholder

derivative litigation. Mr. Kim is admitted to the bar of the State of New York and admitted to

practice in the United States District Courts for the Southern District of New York, the Eastern

District of New York, the Northern District of New York, the Western District of New York, and

the District of Colorado, and the United States Court of Appeals for the Second Circuit.

       In 2019 and 2020 Lawdragon named Mr. Kim as one of the 500 Leading Plaintiff

Financial Lawyers.

JACOB A. GOLDBERG – PARTNER

       Mr. Goldberg is a 1988 graduate of Columbia University. Mr. Goldberg received his

J.D., cum laude, from the Temple University School of Law in 1992. For over 23 years, Mr.

Goldberg has litigated complex cases at the highest levels, championing the rights of investors,

employees and consumers. Mr. Goldberg has recovered over $200 million for investors in

securities class actions. In addition to serving in leadership roles in securities class actions, Mr.

Goldberg has litigated many cases under state corporations laws, against faithless boards of

directors both on behalf of shareholders, in the mergers and acquisitions context, and,

derivatively, on behalf of corporations, to remedy harm to the corporation itself. Mr. Goldberg is

admitted to practice law in the Commonwealth of Pennsylvania, New York, the United States

Supreme Court, the United States Court of Appeals for the Second, Third, Fourth and Sixth

Circuits, and various United States District Courts across the country.

       In 2019 and 2020 Lawdragon named Mr. Goldberg as one of the 500 Leading Plaintiff

Financial Lawyers.




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JONATHAN A. SAIDEL – PARTNER

       Mr. Saidel has had a long and distinguished career in Pennsylvania politics, as well as in

the roles of attorney, accountant and author. He served as Philadelphia city controller for four

consecutive terms, each time earning reelection by a wide margin, and enacting financial reforms

that have saved taxpayers upwards of $500 million. Later, in 2010 he went on to campaign for

lieutenant governor of Pennsylvania, where he was runner-up to Scott Conklin by only a few

thousand votes out of almost 1 million cast. A Lifelong resident of Northeast Philadelphia, Mr.

Saidel’s tireless dedication to fiscal discipline reduced the city's tax burden and spurred

economic development. Mr. Saidel also pushed for important business tax incentives and

expanded minority and small business lending, all of which have revitalized the city, helping it

prosper and come back from the brink of bankruptcy in the early 1990's to become one of the

most vibrant cities on the East Coast.

       Mr. Saidel’s book, "Philadelphia: A New Urban Direction", is widely considered an

essential guide for effective government and corporate governance and is required reading at

many colleges and universities.

       Mr. Saidel received his JD from the Widener University of Law and is a graduate of

Temple University. He is also an adjunct lecturer at the University of Pennsylvania Fels Institute

of Government, and Drexel University's MBA Program. In addition to being a Certified Public

Account, Jonathan is a recipient of the National Association of Local Government Auditor's

Knighton Award, the President's Council on Integrity and Efficiency Award for Excellence,

multiple special project awards from the National Association of Local Government Auditors,

and the "Controller of the Year" award, a peer recognition presented by the Pennsylvania City

Controllers Association.




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JONATHAN HORNE- PARTNER

       Mr. Horne is a 2009 graduate of New York University School of Law, where he received

the Lederman/Milbank Law, Economics, and Business fellowship, and holds a B.A. in

Economics & Philosophy from the University of Toronto. Mr. Horne began his practice at Kaye

Scholer LLP. Mr. Horne specializes in securities litigation. He is admitted to practice in New

York and the United States District Courts for the District of Colorado and the Southern and

Eastern Districts of New York. Mr. Horne was named a Super Lawyer – Rising Star for the New

York Metro Area.

SARA FUKS – COUNSEL

       Ms. Fuks graduated from Fordham University School of Law, cum laude, in February

2005, where she was a member of Fordham Law Review. She received her B.A. in Political

Science, magna cum laude, from New York University in 2001. Ms. Fuks began her practice at

Dewey Ballantine, LLP where she focused on general commercial litigation and then went on to

prosecute numerous ERISA and securities class actions as an associate at Milberg LLP. Ms.

Fuks is admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.

BRIAN ALEXANDER – ATTORNEY

       Mr. Alexander graduated from Harvard Law School, cum laude, in 2008. He received a

B.A. from Cornell University, magna cum laude, in 2003. Prior to joining the Rosen Law Firm,

Mr. Alexander practiced complex commercial litigation at Boies Schiller Flexner LLP and other

prominent law firms in New York. He also served as a law clerk to the Honorable Raymond J.

Dearie of the United States District Court for the Eastern District of New York. He is admitted

to practice in New York and in the United States District Courts for the Eastern and Southern

Districts of New York.

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JOSHUA BAKER – ATTORNEY

       Mr. Baker graduated from the New York University School of Law in 2013. He received

a B.A. from the University of Maryland in 2009. Prior to joining the Rosen Law Firm, Mr.

Baker practiced complex commercial litigation for a New York firm. He is admitted to practice

in New York, Massachusetts, and United States District Courts for the Eastern and Southern

Districts of New York.

JING CHEN - ATTORNEY

       Ms. Chen received a Juris Doctor degree from Pace University School of Law in 2011,

Juris Master degree from China University of Political Science and Law in Beijing, China and

B.A. in English Literature and Linguistics from Shandong University in Jinan, China. She is

admitted to practice in New York, New Jersey and China. Prior to joining The Rosen Law Firm,

Ms. Chen practiced corporate law, commercial transactions and arbitration for over two years.

GONEN HAKLAY – ATTORNEY

       Mr. Haklay graduated from Stanford University School of Law in 1995. He received a

B.A. in Political Science from The University of Massachusetts at Amherst in 1992. After

several years as an associate at a large Philadelphia law firm, Mr. Haklay joined the Philadelphia

District Attorney’s office. As a prosecutor, he tried over 100 criminal jury cases and handled

both capital and non-capital homicide cases. After 12 years as prosecutor, Mr. Haklay joined a

prominent plaintiffs’ firm where he tried over ten asbestos cases, recovering millions of dollars

for his clients. As a young man, Mr. Haklay served as an infantryman in the Israel Defense

Forces. Mr. Haklay is admitted to the bars of the Commonwealth of Pennsylvania, the State of

New Jersey, the United States District Court for the Eastern District of Pennsylvania, and the

United States Third Circuit Court of Appeals.




ROSEN LAW FIRM BIOGRAPHY                        5
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RYAN HEDRICK –ATTORNEY

       Mr. Hedrick received his J.D. from the University of Chicago in 2019. He received his

B.A. in Linguistics and Political Science, summa cum laude, from The Ohio State University in

2015. Mr. Hedrick joined the Rosen Law Firm in August 2019. Mr. Hedrick is admitted to

practice in New Jersey and his admission to New York is pending.

DANIEL TYRE-KARP – ATTORNEY

       Prior to joining The Rosen Law Firm in May 2018, Mr. Tyre-Karp was a senior associate

in the securities litigation and corporate governance group at Weil, Gotshal & Manges, where he

advised corporate and individual clients on a variety of high-stakes regulatory and litigation

matters in state and federal courts. Mr. Tyre-Karp’s extensive experience includes working on

several of the largest recent shareholder class action litigations (In re American International

Group, Inc. 2008 Securities Litigation, Docket No. 08-CV-4772 (S.D.N.Y.) and related opt-out

actions; In re El Paso Corporation Shareholder Litigation, Docket No. 6949 (Del. Ch.)),

participating in complex business and bankruptcy litigations (In re Lehman Brothers Holdings,

Inc., et al, Docket No. 1:08-bk-13555 (Bankr. S.D.N.Y.), and advising numerous clients facing

FINRA and SEC investigations. Mr. Tyre-Karp graduated with honors from Wesleyan

University in 2003 and received his J.D. from New York University School of Law in 2009,

where he served as Senior Notes Editor of the Journal of Legislation and Public Policy. He is

admitted to practice in New York and the United States District Courts for the Southern and

Eastern Districts of New York.

HA SUNG (SCOTT) KIM – ATTORNEY

       Mr. Kim received his J.D. from the Columbia Law School in 2017. He received his B.A.,

magna cum laude, from Wheaton College in 2013. Mr. Kim joined the Rosen Law Firm in

January 2020. Mr. Kim is admitted to practice in New York.

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BRENT LAPOINTE – ATTORNEY

       Mr. LaPointe received his J.D., cum laude, from the University of Michigan Law School

in 2010, where he served as an Articles Editor on both the Michigan Journal of Law Reform and

the Michigan Journal of Gender & Law. Mr. LaPointe received a B.B.A. in Accounting &

Information Systems and Political Science, cum laude, from the University of Massachusetts-

Amherst in 2006. Mr. LaPointe focuses his practice on securities litigation.

LEAH HEIFETZ-LI – ATTORNEY

       Ms. Heifetz-Li is a 2009 graduate of Columbia Law School, and received a B.A. from the

University of Pennsylvania. Ms. Heifetz-Li served as a Law Clerk to the Honorable Cynthia S.

Kern, New York State Supreme Court, New York County. She has extensive experience in class

action litigation, having previously practiced at a large class action firm representing

shareholders in merger and acquisition litigation as well as shareholder derivative actions. Ms.

Heifetz-Li has worked on case teams that secured significant financial recoveries for

stockholders as well as corporate governance reforms in the Delaware Court of Chancery and

other courts throughout the country.

NICHOLAS MANNINGHAM – ATTORNEY

       Mr. Manningham received his J.D. from Brooklyn Law School and a B.A. from the

University of Michigan. Mr. Manningham focuses his practice on securities and shareholder

derivative litigation. Prior to joining the firm, Mr. Manningham was an associate at a boutique

law firm specializing in commercial and securities litigation, as well as an Assistant Corporation

Counsel with the New York City Law Department. During his time with the City, Mr.

Manningham was lead counsel on dozens of individual actions in Federal Court and first chaired

two jury trials in the Southern District of New York. Mr. Manningham is admitted to the bar of




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the State of New York and to the United States District Courts for the Southern and Eastern

Districts of New York and the Eastern District of Michigan.

STEPHEN SHEPARDSON – ATTORNEY

       Mr. Shepardson received his J.D. from New York University School of Law in 2015 and

a B.S. in Financial Math and B.A. in Philosophy from the University of California, Santa

Barbera in 2010. Mr. Shepardson joined The Rosen Law Firm in August 2018 and focuses his

practice on securities litigation. Mr. Shepardson was previously an associate at a complex

litigation boutique. He is admitted to practice in the State of New York.

YU SHI – ATTORNEY

       Mr. Shi received his J.D. from Columbia Law School in 2011 and his B.A., cum laude,

from Columbia University in 2008. He has been selected to Super Lawyers New York Metro

Rising Stars list each year since 2018.      Mr. Shi began his career as a Special Assistant

Corporation Counsel in the New York City Law Department’s Economic Development Division.

Mr. Shi joined The Rosen Law Firm in 2012 and focuses his practice on securities litigation. He

is admitted to practice in the State of New York, the United States District Courts for the Eastern

District of New York, Southern Districts of New York, and the District of Colorado, and the

United States Court of Appeals for the Second Circuit.

JONATHAN STERN – ATTORNEY

       Mr. Stern graduated from New York University School of Law in May of 2008, where he

was a Development Editor of the Annual Survey of American Law. He received his B.A. in

Philosophy with Honors from McGill University. Mr. Stern began his practice in the litigation

department of Simpson Thacher & Bartlett LLP, and then went on to practice at the litigation

boutique of Simon & Partners LLP, where he participated in a Federal trial. Mr. Stern is




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admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.

ERICA STONE- ATTORNEY

        Ms. Stone graduated from the Benjamin N. Cardozo School of Law in 2013. She received

her B.A. in Political Science and Communications, cum laude, from the University of

Pennsylvania in 2009. She is admitted to practice in New York, New Jersey, and the United

States District Courts for the Southern District and Eastern District of New York and the District

of New Jersey.

II.     RECENT ACCOMPLISHMENTS OF THE ROSEN LAW FIRM PA

        Christine Asia Co Ltd. v. Alibaba Group Holding Ltd., No. 15-md-2631 (CM) (SDA).

The Rosen Law Firm was sole Class Counsel in this multidistrict certified class action in U.S.

District Court for the Southern District of New York. The complaint alleged violations of §§10b

and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially

false and misleading business information. The parties settled this action for $250 million in

cash.

        Pirnik v. Fiat Chrysler Automobiles, N.V., 15-CV-7199 (JMF). The Rosen Law Firm

was co-Class Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading statements about its

true business condition. The parties settled this action for $110 million in cash.

        In re Silver Wheaton Corp. Securities Litigation, No. 15-cv-5146-CAS. The Rosen Law

Firm was sole Class Counsel in this certified class action in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§10b and 20(a) of the




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Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial statements. This parties settled this action for $41.5 million in cash.

       Hayes v. Magnachip Semiconductor Corp., No. 12-CV-1160-JST. The Rosen Law Firm

was co-Class Counsel in this certified class action in the U.S. District Court for Northern District

of California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of false financial statements. The parties settled this

action for $29.7 million.

       Menaldi v. Och-Ziff Capital Management Group LLC, No. 14-CV-3251 (JPO). The

Rosen Law Firm was co-Class Counsel in this certified class action in the U.S. District Court for

Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. The parties settled this action for $28.75 million in cash.

       Beck v. Walter Investment Management, No. 14-cv-20880-UU. The Rosen Law Firm

was co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern

District of Florida. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company concealing its true financial condition. The parties

settled the action for $24 million in cash.

       Deering v. Galena Biopharma, Inc., No. 3:14-cv-00367-SI. The Rosen Law Firm was co-

Lead Counsel in this class action in the U.S. District Court for District of Oregon. The complaint

alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the Company

concealing an undisclosed stock promotion scheme. The parties have agreed to settle the action

for $20.165 million in cash.

       Turocy v. El Pollo Loco Holdings, Inc., No. CV-15-1343-DOC. The Rosen Law Firm

was co-Class Counsel in this certified class action in the U.S. District Court for the Central

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District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The parties settled the action for $20 million in cash.

          Yang v. Tibet Pharmaceuticals, Inc., No. 14-cv-3538. The Rosen Law Firm was sole

Lead Counsel in this consolidated class action in the U.S. District Court for the District of New

Jersey.     The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus. Plaintiffs

and the underwriters have agreed to settle their claims for $14 million proof of claim in

bankruptcy court. Plaintiffs have also agreed to a $2.075 million settlement with Tibet’s auditor.

          In re USA Technologies, Inc. Sec. Litig., No. 19-cv-4565-JHS. The Rosen Law Firm

was sole lead counsel in this consolidated class action in U.S. District Court for the Eastern

District of Pennsylvania. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act and §§11b and 15 arising of the Securities Act out of the Company’s issuance of

materially false and misleading business information. The parties settled the action for $15.3

million in cash.

          In re Silvercorp Metals, Inc. Securities Litigation, No. 12-CV-9456 (JSR). The Rosen

Law Firm was counsel to lead plaintiff in this consolidated class action in the U.S. District Court

for Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial information. The parties agreed to settle this action for $14 million in cash.

          In re Blue Apron Holdings, Inc. Sec. Litig., No. 17-CV-4846 (WFK)(PK). The Rosen

Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations Sections 11,

12(a)(2), and 15 of the Securities Act arising out of the Company’s issuance of materially false

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and misleading business information. This parties agreed to settle this action for $13.25 million

in cash, pending Court approval.

        Kistenmacher v. Atchison (SeaWorld Entertainment Inc.), No. 10437-VCS. The Rosen

Law Firm was co-lead counsel in this shareholder derivative action in the Chancery Court for the

State of Delaware. The firm secured a $12.5 million cash payment to SeaWorld along with

valuable corporate governance reforms.

        Hellum v. Prosper Marketplace, Inc., No. CGC-08-482329. The Rosen Law Firm was

class counsel in this certified class action in California Superior Court, San Francisco County

alleging violations of the Securities Act of 1933 and the California Corporations Code in

connection with defendants’ offer and sale of unregistered securities. Plaintiffs settled this action

for $10 million in cash.

        In re Textainer Financial Servs. Corp., No. CGC 05-440303. The Rosen Law Firm was

Co-Lead Counsel in this class action in the California Superior Court, San Francisco County

alleging breach of fiduciary duty in connection with the sale of the assets of six related publicly

traded limited partnerships. After winning the first phase of a multi-phase bench trial, Plaintiffs

obtained a $10 million cash settlement for class members.

        Friedman v. Quest Energy Partners LP, et al., No. CIV-08-936-M. The Rosen Law Firm

was sole Lead Counsel on behalf of purchasers of Quest Resource Corporation’s securities in this

consolidated class action filed in the U.S. District Court for the Western District of Oklahoma.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading statements in connection with the

Company’s former CEO and CFO misappropriating nearly $10 million. All classes and parties

to this litigation settled this action for $10.1 million in cash.




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       In re comScore, Inc. Virginia Shareholder Derivative Litigation, No. CL-2016-9465. The

Rosen Law Firm was co-lead counsel in this shareholder derivative action in the Virginia state

court. The firm helped secure a global settlement of this action and a related federal derivative

action consisting of a $10 million cash payment to comScore along with extensive corporate

governance reforms.

       Parmelee v. Santander Consumer USA Holdings Inc., No. 3:16-cv-783-K. The Rosen

Law Firm was co-Lead Counsel in this class action in the U.S. District Court for the Northern

District of Texas.    The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this case for $9.5 million in cash.

       Meyer v. Concordia International Corp., No. 16-cv-6467 (RMB). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York.     The complaint alleged violations of the Securities Exchange Act of 1934 in

connection with the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this case for $9.25 million in cash.

       In re Puda Coal Securities Litigation, No. 11-CV-2598 (DLC) (Partial Settlement). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action

pending in the U.S. District Court for the Southern District of New York. The complaint alleges

violations of the Exchange Act and Securities Act arising out of the Company’s issuance of

materially false and misleading financial statements. The parties agreed to settle Plaintiffs’

claims against the underwriters and certain other defendants for $8.7 million. The case continues

against other defendants.

       Hufnagle v. RINO International Corporation, No. CV 10-8695-VBF (VBKx). The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

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the Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenue and earnings.            The parties settled this action against the

company and its auditor for a total of $8,685,000 in cash.

       In re Montage Technology Group Limited Securities Litigation, No. 3:2014-cv-0722 (SI).

The Rosen Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District

Court for the Northern District of California. The complaint alleged violations of §§ 10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of false statements

relating to certain undisclosed related party transactions and the Company’s revenue. The parties

agreed to settle this action for $7.25 million in cash.

       Blitz v. AgFeed Industries, No. 3:11-0992. The Rosen Law Firm was co-Lead Counsel

in this consolidated class action in the U.S. District Court for the Middle District of Tennessee.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial information. The parties

agreed to settle this action for $7 million in cash.

       Li v. Aeterna Zentaris. Inc., No. 14-CV-07081 (PGS). The Rosen Law Firm is currently

serving as Class Counsel in this certified class action pending in the U.S. District Court for

District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this action for $6.5 million in cash, pending Court

approval.



       Cole v. Duoyuan Printing, Inc., No. 10-CV-7325(GBD). The Rosen Law Firm was Co-

Lead Counsel in this class action in the U.S. District Court for the Southern District of New

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York. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933

and §§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading statements about the Company’s true financial condition and

adequacy of the Company’s internal controls. Plaintiffs and the issuer defendants agreed to a

partial settlement of $4.3 million cash payment to class members. Plaintiffs and the underwriters

agreed to a separate $1,893,750 cash payment to class members. The total settlement was

$6,193,750 in cash.

       In re Nature’s Sunshine Products, Inc. Securities Litigation, No. 2:06-cv-00267-TS-SA.

The Rosen Law Firm was sole Lead Class Counsel in this class action in the U.S. District Court

for the District of Utah. The complaint alleged violations of §§ 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s materially false and misleading statements

concerning its financial statements and business practices. Following the certification of the

class and extensive discovery, Plaintiffs agreed to settle this case for $6 million in cash.

       Carmack v. Amaya, Inc., No. 16-cv-1884-JHR-JS. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for the District of New Jersey. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties settled

this action for $5.75 million in cash.

       Miller v. Global Geophysical Services, No. 14-CV-708. The Rosen Law Firm was Lead

Counsel in this consolidated class action in the U.S. District Court for Southern of Texas. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act and Sections 11

and 15 of the Securities Act arising out a financial restatement. The parties settled this case for

$5.3 million in cash.




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        Bensley v. FalconStor Software, Inc., No. 10-CV-4672 (ERK) (CLP). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Eastern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements about the Company’s true financial and business condition. The parties

agreed to settle this action for $5 million in cash.

        In re Jumia Technologies AG Securities Litigation, No. 19-cv-4397 (PKC). The Rosen

Law Firm is co-Lead Counsel in this class action pending in the U.S. District Court for the

Southern District of New York. The complaint alleges violations of the Securities Exchange Act

of 1934 and the Securities Act of 1933 in connection with the Company’s issuance of materially

false and misleading financial statements. The collective settlement of this case and related state

action is $5 million in cash, pending Court approval.

        Delorosa v. State Street, 17-cv-11155-NMG.         The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of Massachusetts. The

complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties agreed

to settle this action for $4.9 million in cash.

        Berry v. KIOR, Inc., No. 13-CV-2443. The Rosen Law Firm was co-Lead Counsel in

this class action in the U.S. District Court for the Southern District of Texas. The complaint

alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial statements. The parties settled

this action for $4.5 million in cash.

        In re Entropin, Inc. Securities Litigation, Case No. CV 04-6180-RC. The Rosen Law

Firm was counsel to Plaintiff in this securities class action in the United States District Court for

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the Central District of California, and Lead Counsel in the related class action brought in

California state court against Entropin, Inc., a defunct pharmaceutical company. These actions

alleged violations of §§ 10b and 20(a) of the Securities Exchange Act and violations various

state securities laws arising out of allegedly false and misleading statements about the

Company’s lead drug candidate Esterom, respectively. On the eve of trial, Defendants agreed to

settle these cases for a $4.5 million cash payment to class members.

       Fitzpatrick v. Uni-Pixel, Inc., No. 13-CV-01649.       The Rosen Law Firm was co-Lead

Counsel in this class action pending in the U.S. District Court for the Southern District of Texas.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company concealing its true financial condition. The parties settled this action for $4.5

million consisting of $2.35 million in cash and $2.15 million in stock.

       Munoz v. China Expert Technology, Inc., Case No. 07-CV-10531 (AKH). The Rosen

Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of: (a) the Company’s issuance of materially false statements of

revenues and earnings; and (b) the Company’s auditors’ issuance of materially false and

misleading “clean” audit opinions. The parties settled this action for $4.2 million cash payment

to class members.

       In re IDreamSky Technology Limited Securities Litigation, No. 15-cv-2514 (JPO). The

Rosen Law Firm was co-Lead Counsel in this consolidated class action in the U.S. District Court

for the Southern District of New York. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act §§ 11 and 20(a) of the Securities Act and arising out of the issuance

of misleading business information. The parties settled this case for $4.15 million in cash.




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       Snellink v. Universal Travel Group, Inc., Case No.11-CV-2164. The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of New

Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising the issuance of false statements concerning the Company’s true financial condition. The

parties settled this action for $4.075 million in cash.

       Checkman v. Allegiant Travel Co., No. 18-cv-1758-APG-BNW. The Rosen Law Firm

was sole lead counsel in this class action in U.S. District Court for the District of Nevada. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties settled

this action for $4 million in cash.

       Stanger v. China Electric Motor, Inc., Case no. CV 11-2794-R (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the Securities Act

of 1933 in connection with the Company’s $22.5 million initial public offering. The parties

settled this action for $3,778,333.33 in cash.

       In re IsoRay, Inc. Securities Litigation, No. 15-cv-5046-LRD. The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Eastern District

of Washington. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company misstating certain study results relating to the Company’s

products. The parties settled this action for $3,537,500 in cash.

       Rose v. Deer Consumer Products, Inc., No. CV11-3701 –DMG (MRWx). The Rosen

Law Firm was sole Lead Counsel in this class action pending in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising from the issuance of false statements concerning the Company’s

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true financial condition. Plaintiffs settled their claims against Deer and its auditor through two

settlements totaling $3.55 million in cash.

       In re L&L Energy, Inc. Securities Litigation, No. 13-CV-6704 (RA). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for the Southern District

of New York. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of false financial statements. The parties settled this

action for $3.5 million in cash.

       Sood v. Catalyst Pharmaceutical Partners, Inc., No. 13-CV-23878-UU. The Rosen Law

Firm was sole lead counsel in this class action filed in the U.S. District Court for the Southern

District of Florida. The complaint alleged that the Company failed to disclose material facts

about its primary drug candidate. The parties settled this action for $3.5 million in cash.

       Cheung v. Keyuan Petrochemicals, Inc., No. 13-cv-6057 (PAC). The Rosen Law firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act

of 1934 in connection with the Company’s failure to disclose material related party transactions

in periodic reports it filed with the SEC. The parties settled this action for $2.65 million in cash.

Separately, in the related case Omanoff v. Patrizio & Zhao LLC, No. 2:14-cv-723-FSH-JBC, The

Rosen Law Firm was sole lead counsel in this class action in the U.S. District Court for the

District of New Jersey. The complaint alleged that Patrizio & Zhao, LLC, as auditor for Keyuan

Petrochemicals, Inc., issued materially false and misleading audit opinions. The parties have

settled this action for $850,000 in cash. The total recovery for Keyuan investors was $3.5

million.

       In re StockerYale, Inc. Securities Litigation, Case No. 1:05-cv-00177. The Rosen Law

Firm served as sole Lead Counsel in this consolidated class action in the U.S. District Court for

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the District of New Hampshire. The complaint alleged violations of §§ 10b, 20(a) and 20A of

the Securities Exchange Act arising out of the issuance of allegedly false and misleading press

releases regarding certain contracts the Company claimed to have signed. Plaintiffs settled this

class action for $3.4 million cash payment to class members.

       Mallozzi v. Industrial Enterprises of America, Inc., Case No. 07-CV-10321 (GBD). The

Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenues and earnings.          During the pendency of the Company’s

bankruptcy, the parties settled this class action for $3.4 million in cash.

       Napoli v. Ampio Pharmaceuticals, Inc., CV-3474-TJH. The Rosen Law Firm was sole

Lead Counsel in this class action in the U.S. District Court for the Central District of California.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false statements regarding the clinical testing of one its

products. The parties settled this action for $3.4 million in cash.

       Kelsey v. Textura Corporation, No. 14 C 7837. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for Northern District of Illinois. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

allegations that the Company misstated its true financial condition. The parties settled this action

for $3.3 million in cash.

       Ding v. Roka Bioscience, Inc., No. 14-8020 (FLW). The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of New Jersey. The complaint

alleges violations of §§11 and 15 of the Securities Act arising out of the Company’s issuance of




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materially false and misleading business information. The parties agreed to settle this case for

$3.275 million in cash.

        Meruelo Capital Partners 2, LLC et al. v. Wedbush Morgan Securities, Inc., Case no. BC

352498. The Rosen Law Firm was co-counsel to plaintiffs in this action brought in California

Superior Court, Los Angeles County for violations of the California State securities laws against

the securities issuer and broker-dealer in connection with the sale of $2.5 million worth of

securities. On the eve of trial, plaintiffs settled the claims against the issuer for a cash payment

of $1 million. Following an eight day jury trial, Plaintiffs obtained a jury verdict in their favor

and against the underwriter for over $2.2 million (which included prejudgment interest). In sum,

plaintiffs recovered over $3.2 million, which represented 100% of plaintiffs’ principal

investment of $2.5 million and over $700,000 in prejudgment interest. The verdict was affirmed

by the California 2nd District Court of Appeal.

        Chan v. New Oriental Education & Technology Group Inc., No. 16-CV-9279-KSH. The

Rosen Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S.

District Court for the District of New Jersey. The complaint alleges violations of the Exchange

Act in connection with the Company’s issuance of materially false and misleading financial

statements. This parties have agreed to settle this action for $3.15 million in cash, pending Court

approval.

        Ray v. TierOne Corporation, Case No. 10CV199. The Rosen Law Firm was sole Lead

Counsel in this class action brought in the U.S. District Court for the District of Nebraska. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading statements of earnings and the

Company’s banking operations and business. The parties settled this action for $3.1 million in

cash.

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        Van Wingerden v. Cadiz, Inc., No. CV-15-3080-JAK-JEM. The Rosen Law Firm was

co-Lead Counsel in this class action in the U.S. District Court for Central District of California.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements. The parties

settled this action for $3 million in cash.

        Pham v. China Finance Online Co. Limited, No. CV 15-CV-7894 (RMB). The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial statements. The parties settled this action for $3 million in cash.

        In re Skilled Healthcare Group, Inc. Securities Litigation, Case No. 2:09-CV-5416-DOC

(RZx). The Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California. The complaint alleged violations of the §§ 11, 12(a)(2),

and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising

out of the Company’s issuance of materially false and misleading statements of revenue and

earnings. Plaintiffs settled this action for $3 million in cash.

        In re Spectrum Pharms. Inc. Securities Litigation, No. 16-cv-2279-RFP-GWF.             The

Rosen Law Firm was co-Lead Counsel in this consolidated class action in the U.S. District Court

for the District of Nevada. The complaint alleged violations of the Exchange Act in connection

with the Company’s issuance of materially false and misleading business information. Plaintiffs

settled this action for $2.995 million in cash.

        Abrams v. MiMedx Group, Inc., No. 1:13-cv-03074-TWT. The Rosen Law Firm was

sole Lead Counsel in this consolidated class action in the U.S. District Court for the Northern

District of Georgia. The complaint alleged violations of §§ 10b and 20(a) of the Securities

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Exchange Act arising out of the Company’s issuance of false statements relating the regulatory

compliance of its products. The parties settled this action for $2.979 million.

       Madden v. Pegasus Communications Corp, Case No. 2:05-cv-0568. The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Eastern District

of Pennsylvania. The action alleged violations of §§ 10b and 20(a) of the Securities Exchange

Act arising out of the issuance of allegedly false and misleading statements concerning the

Company’s direct broadcast satellite agreement with DirecTV and the Company’s reported

subscriber growth and totals. Plaintiffs settled this action for a $2.95 million cash payment to

class members.

       Gauquie v. Albany Molecular Research, No. 14-CV-6637 (FB) (SMG). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Eastern District

of New York. The complaint alleged violation of §10b and 20(a) of the Securities Exchange Act

out of the Company’s misstatements about its true financial condition and prospects. The parties

settled this action for $2.868 million.

       In re Lihua International, Inc. Sec. Litig., No. 14-CV-5037 (RA). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

New York.      The complaint alleged violations of the Securities Exchange Act of 1934 in

connection with the Company’s issuance of materially false and misleading financial statements.

The collective settlement of the class action and consolidated derivative actions are $2.865

million in cash.

       In re TVIA, Inc. Securities Litigation, Case No. C-06-06403-RMW. The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Northern District of California. The complaint alleged violations of §§ 10b, 20(a), 20A of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

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misleading financial statements by virtue of the Company improper recognition of revenues in

violation of GAAP. Plaintiffs settled this action for a $2.85 million cash payment to class

members.

       Vaccaro v. New Source Energy Partners LP, No. 15-CV-8954 (KMW). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for Southern District of

New York. The complaint alleged violations of §§11 and 15 of the Securities Act arising out of

the company’s issuance of materially false and misleading business information. The parties

settled this action for $2.85 million in cash.

       Zagami v. Natural Health Trends Corp., et al., Case No. 3:06-CV-1654-D. The Rosen

Law Firm served as sole Lead Counsel in this class action in the U.S. District Court for the

Northern District of Texas. The complaint alleged violations of § 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements in violation of GAAP. Plaintiffs settled this case for $2.75 million cash payment to

class members.

       In re Sequans Communications Securities Litigation, No. 17-cv-4665 (FB)(SJB). The

Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court for the

Eastern District of New York. The complaint alleged violations of §10b and 20(a) of the

Securities Exchange Act out of the Company’s misstatements about its true financial condition

and prospects. The parties settled this action for $2.75 million in cash.

       In re Akari Therapeutics PLC Securities Litigation, No. 17-cv-3577 (KPF). The Rosen

Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading




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statements about the results of a clinical study. The parties settled this case for $2.7 million in

cash.

        Romero v. Growlife, Inc., Case No. 2:14-cv-03015-CAS (JEMx). The Rosen Law Firm

was sole Lead Counsel in this consolidated class action in the U.S. District Court for the Central

District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising the issuance of false statements concerning the Company’s true financial

condition. The parties settled this action for total consideration of $2.7 million, comprised of

$700,000 in cash and $2 million in stock.

        Moleski v. Tangoe, Inc., No. 3:17-cv-00146. The Rosen Law Firm was co-Lead Counsel

in this class action in the U.S. District Court for the District of Connecticut. The complaint

alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial statements. The parties settled

this action for $2.55 million in cash.

        Hosey v. Twitter, Inc., No. 16-CIV-02228. The Rosen Law Firm was co-Lead Counsel

in this class action in the Superior Court of the State of California in San Mateo County. The

complaint alleged violations of §§11 of the Securities Act arising out of the Company’s issuance

of materially false and misleading business information. The parties settled this action for $2.5

million in cash.

        Nguyen v. Radient Pharmaceuticals Corporation, Case No. CV11-0405-DOC (MLGx).

The Rosen Law Firm was sole Lead Counsel in this class in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the issuance of false statements concerning the

Company’s clinical trial involving its principal product. The parties agreed to settle this action

for $2.5 million in cash.

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       In re Robert T. Harvey Securities Litigation, Case No. SA CV-04-0876 DOC (PJWx).

The Rosen Law Firm served as Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California and the related California state court class actions. This

action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of the

sale of partnership interests that corresponded to the securities of Chaparral Network Storage and

AirPrime, Inc., n/.k/a Sierra Wireless, Inc. Plaintiffs settled this and the related state court

actions for an aggregate $2.485 million cash payment to class members.

       In re China Education Alliance, Inc. Securities Litigation, No. C 10-9239-CAS (JCx).

The Rosen Law Firm was sole Lead Counsel in this consolidated class in the U.S. District Court

for the Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Exchange Act arising out of the Company’s issuance of materially false and misleading

statements of revenue and earnings. The parties settled this action for $2.425 million in cash.

       Mikhlin v. Oasmia Pharmaceuticals AB., No. 19-cv-4349 (NGG) (RER). The Rosen

Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations the Securities

Exchange Act arising out of the Company’s issuance of materially false financial statements.

The parties agreed to settle this action for $2.35 million in cash, pending Court approval.

       Chu v. BioAmber, Inc., 17-cv-1531 (ADS) (GRB). The Rosen Law Firm is currently

serving as Co-Lead Counsel in this class action pending in the U.S. District Court for Eastern

District of New York. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and business

information. The parties agreed to settle this action for $2.25 million in cash, pending Court

approval.




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        In re Akers Biosciences, Inc. Sec. Litig., No. 18-cv-10521 (ES) (CLW). The Rosen Law

Firm was sole lead counsel in this consolidated class action in U.S. District Court for the District

of New Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and misleading business

information. The parties agreed to settle this action for $2.25 million in cash.

        Kubala v. SkyPeople Fruit Juice, No. 11-CV-2700 (PKC). The Rosen Law Firm was sole

Lead Counsel in this consolidated class action in the U.S. District Court for the Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act out of the Company’s failure to disclose material related party transactions that rendered the

Company’s financial statements false. The parties agreed to settle this action for $2.2 million in

cash.

        Tapia-Matos v. Caesarstone Sdot-Yam Ltd., No. 15-CV-6726 (JMF). The Rosen Law

Firm was co-Lead Counsel in this class action in the U.S. District Court for Southern District of

New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading statements about the

Company’s true financial condition and business prospects. The parties agreed to settle this

action for $2.2 million in cash.

        In re Fuwei Films Securities Litigation, Case no. 07-CV-9416 (RJS). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of

the Securities Act of 1933 in connection with material misrepresentations in the Company’s

Registration Statement and Prospectus in connection with the Company’s $35 million IPO. The

parties settled this action for $2.15 million cash payment to class members.




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       Snellink v. Gulf Resources, Inc., No.CV11-3722-ODW (MRWx). The Rosen Law Firm

was co-Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act

arising out of the Company’s failure to disclose the related party nature of certain transactions,

and the Company’s issuance of false financial statements. The parties agreed to settle this action

for $2.125 million in cash.

       Crandall v. PTC Inc., No. 16-cv-10471-WGY. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of Massachusetts. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act and certain

violations of the Securities Act arising out of the Company’s issuance of materially false and

misleading statements about the Company’s true financial condition. The parties agreed to settle

this action for $2.1 million in cash.

       In re DS Healthcare Group, Inc. Sec. Litig., No. 16-60661-CIV-DIMITROULEAS. The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Southern District of Florida.     The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. The parties agreed to settle this action for $2.1 million in cash.

       Henning v. Orient Paper, Inc., No. CV 10-5887-VBF (AJWx). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

and certain violations of the Securities Act arising out of the Company’s issuance of materially

false and misleading statements about the Company’s true financial condition and business

prospects. The parties settled this action for $2 million in cash.




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       Pena v. iBio, Inc., 14-CV-1343-RGA. The Rosen Law Firm was sole Lead Counsel in

this class action in the U.S. District Court for the District of Delaware. The complaint alleged

violations of §§10b and 20(a) of the Securities Exchange Act arising out misstatements and

omissions relating to the Company’s purported involvement with an Ebola treatment. The

parties settled this action for $1.875 million in cash.

       Campton v. Ignite Restaurant Group, Inc., No. 12-CV-2196. The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

Texas. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus issued for

the company’s IPO. The parties settled this action for $1.8 million in cash.

       Petrie v. Electronic Game Card, Inc., No. SACV 10-0252-DOC (RNBx). The Rosen

Law Firm was sole Lead Counsel in this class action in the United States District Court for the

Central District of California. Following dismissal of the complaint by the district court, the

Rosen Firm obtained a reversal of the dismissal from U.S. Court of Appeals for the Ninth

Circuit. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading financial statements in

violation of Generally Accepted Accounting Principles and the Company’s publicly stated

internal policies. The parties settled this case for $1.755 million in cash.

       Ford v. Natural Health Trends Corp., No. 16-00255 TJH (AFM). The Rosen Law Firm

was co-Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the company’s issuance of materially false and misleading business information.

The parties agreed to settle this action for $1.75 million in cash.




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        Hayden v. Wang, et al., No. Civ. 518333. The Rosen Law Firm was sole lead counsel in

this class action in the California Superior Court of San Mateo County brought on behalf of

purchasers of Worldwide Energy & Manufacturing USA, Inc. common stock in two private

placements. The Complaint alleged that the offering documents were materially false. The

parties settled this action for $1,615,000 in cash.

        Burritt v. Nutracea, Inc., Case No.CV-09-00406-PHX-FJM. The Rosen Law Firm was

sole Lead Counsel in this consolidated class action in the U.S. District Court for the District of

Arizona. This action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act of

1934 and the Arizona securities laws in connection with the Company’s issuance of materially

false and misleading statements of earnings and revenues.             During the pendency of the

Company’s bankruptcy, Plaintiffs settled this action for $1.5 million in cash and a remainder

interest of 50% of the issuer’s directors’ and officers’ liability insurance policy.

        Press v. Delstaff LLC, No. MSC 09-01051. The Rosen Law Firm was sole Lead Counsel

in this class action in the California Superior Court for Contra Costa County, brought in

connection with a “going private” transaction valued at $1.25/share for the 6.4 million shares

implicated in the transaction.     The parties settled this action for $1,642,500 in additional

compensation to shareholders.

        Shapiro v. Alliance MMA, Inc., No. 17-CV-2583 (RBK)(AMD). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of New

Jersey. The complaint alleged violations of §§11b and 15(a) of the Securities Act arising out of

the company’s issuance of materially false and misleading financial statements in connection

with the company’s initial public offering. The parties settled this action for $1.55 million in

cash.




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        In re Lightinthebox Holding Co., Ltd., 13-CV-6016 (PKC). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for Southern District of New

York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company concealing its true financial condition. The parties agreed to settle

this action for $1.55 million in cash.

        Hrasok v. Kraton Corporation, No. 18-CV-591. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for the Southern District of Texas. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

company’s issuance of materially false and misleading business information. The parties agreed

to settle this action for $1.5 million in cash.

        Weinstein v. RMG Networks Holding Corporation, C.A. 2018-0210-AGB. The Rosen

Law Firm was sole Lead Counsel in this class action in the Court of Chancery of State of

Delaware, brought in connection with a “going private” transaction. The parties settled this

action for $1,500,000 in additional compensation to shareholders.

        Pankowski v. BlueNRGY Group Ltd, f/k/a CBD Energy Ltd., No. 4:15-cv-1668. The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Southern District of Texas. The complaint alleged violations Securities Act and Exchange Act

arising out of the Company’s issuance of materially false financial statements. The parties

agreed to settle this action for $1.5 million in cash.

        Guimetla v. Ambow Education Holding Ltd., No. CV-12-5062-PSG (AJWx). The Rosen

Law Firm was sole Lead Counsel in this class action filed in the U.S. District Court for the

Central District of California. The complaint alleged violations of the Securities Exchange Act

of 1934 in connection with the Company’s issuance of materially false and misleading financial

statements. The parties agreed to settle this action for $1.5 million.

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       Lee v. Active Power, Inc., No. l:13-cv-00797. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for the Western District of Texas. The

complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of

the Company’s issuance of false statements relating to a purported distribution agreement with a

major information technology provider. The parties agreed to settle this action for $1.5 million.

       In re Northfield Laboratories, Inc. Securities Litigation, Case No. 06 C 1493. The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

the Northern District of Illinois. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s materially false and misleading statements

concerning its PolyHeme blood substitute product and business prospects. Following extensive

class discovery and litigation activity in bankruptcy court, the parties agreed to settle this action

for $1.5 million in cash.

       In re PartsBase.com, Inc. Securities Litigation, Case No. 01-8319. The Rosen Law Firm

was Co-Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The action arose from a $45.5 million initial public offering of common stock by the

defendant issuer and a syndicate of underwriters including Roth Capital Partners and PMG

Capital Corp. Plaintiffs settled this action for $1.5 million in cash.

       Vandevelde v. China Natural Gas, Inc., No. 10-728-SLR. The Rosen Law Firm was sole

Lead Counsel in the class action pending in the U.S. District Court for the District of Delaware.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the issuance of materially false and misleading financial statements. Plaintiffs settled this

action for $1.5 million in cash.

       Simmons v. FAB Universal Corp., No. 13-CV-8216 (RWS). The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern District

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of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company concealing its true financial condition. The parties agreed to

settle this action for $1.5 million in cash.

        Springer v. Code Rebel Corp., No. 16-cv-3492 (AJN). The Rosen Law Firm was co-

Lead Counsel in this class action pending in the U.S. District Court for the Southern District of

New York and counsel in a related case in California Superior Court. The actions alleged

violations of the Exchange Act and Securities Act violations, respectively.           Following the

bankruptcy of the Company, the parties settled both actions for $1.415 million.

        In re Empyrean Bioscience Securities Litigation, Case No. 1:02CV1439. This class

action in which the Rosen Law Firm was sole Lead Counsel was filed in the U.S. District Court

for the Northern District of Ohio. The action alleged violations of §§10b and 20(a) of the

Securities Exchange Act based on misrepresentations in defendants’ SEC filings and press

releases concerning the clinical testing of the Company’s GEDA Plus microbicide gel. After the

court denied defendants’ motion to dismiss the complaint, the parties briefed the issue of whether

the securities were traded in an efficient market. Prior to a decision on market efficiency,

Plaintiffs settled the case for a $1.4 million payment to class members.

        Balon v. Agria, Inc., No. 16-8376 (SDW). The Rosen Law Firm was sole Lead Counsel

in this class action in the U.S. District Court for the District of New Jersey. The complaint

alleged violation of §10b and 20(a) of the Securities Exchange Act out of the Company’s

manipulation of its stock price. The parties settled this case for $1.3 million in cash.

        Pepe v. CoCrystal Pharma, Inc., No. 18-cv-14091-KM-JBC. The Rosen Law Firm is

serving as sole lead counsel in this class action pending in U.S. District Court for the District of

New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information

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and stock manipulation. The parties settled this case for $1.265 million in cash, pending Court

approval.

        Desta v. Wins Financial Holdings, Inc., 17-cv-2983-CAS-AGR. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The parties have agreed to settle this case for $1.26 million in cash, pending Court

approval.

        Tran v. ERBA Diagnostics, Inc., No. 15-cv-24440. The Rosen Law Firm was co-Lead

Counsel in this class action on appeal with the U.S. Court of Appeals for the Eleventh Circuit.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements. While on

appeal following the dismissal of the case, the parties settled the action for $1.215 million in

cash.

        Knox v. Yingli Green Energy Holding Co. Ltd., No. 2:15-cv-4003. The Rosen Law Firm

was sole Lead Counsel in this class action in the United States District Court for the Central

District of California. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false financial statements.

While on appeal following the dismissal of the case, the parties agreed to settle the action for

$1.2 million in cash.

        In re Himax Technologies, Inc. Securities Litigation, Case No. C 07-4891-DDP. The

Rosen Law Firm served as Co-Lead Counsel in this consolidated class action in the U.S. District

Court for the Central District of California, Western Division. The complaint alleged violations




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of §§ 11 and 15 of the Securities Act arising out of the Company’s IPO. Plaintiffs agreed to

settle this case for $1.2 million cash payment to class members.

        In re Flight Safety Technologies, Inc. Securities Litigation, Case No. 3:04-cv-1175. The

Rosen Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District

Court for the District of Connecticut. The action alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the defendants alleged failure to disclose material adverse

information concerning the Company’s products under development and misrepresenting the

amount of time it would take to commercialize the products. Plaintiffs settled the case for a $1.2

million cash payment to class members.

        In re: M.H. Meyerson & Co. Securities Litigation, Case No. 02-CV-2724. This class

action, in which the Rosen Law Firm was sole Lead Counsel, was filed in U.S. District Court for

District of New Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act based on allegedly false and misleading SEC filings related to the planned launch

of an online brokerage business, and other material misrepresentations, which allegedly inflated

the price of Meyerson stock during the class period. Plaintiffs settled the case for a $1.2 million

payment to class members.

        Perez v. Izea, Inc., No. 18-cv-2784-SVW-GJS. The Rosen Law Firm was Co-Lead

Counsel in this class action in the U.S. District Court for the Central District of California. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial information. The parties agreed

to settle this action for $1.2 million in cash.

        In re OPUS360 Corp. Securities Litigation, Case No. 01-Civ-2938. The Rosen Law Firm

was Co-Lead Counsel for this action brought in the Southern District of New York alleging

violations of the federal securities laws arising from a $75.0 million initial public offering of

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common stock by the defendant issuer and a syndicate of underwriters including JP Morgan and

Robertson Stephens, Inc. The Court certified the action as a class action and approved a final

settlement.

       Ansell v. National Lampoon, Inc., Case No. CV10-9292-PA (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of a market manipulation scheme involving National Lampoon’s common stock.

The parties agreed to settle this action for $1 million in cash.

       Garcia v. Lentuo International, Inc., CV-15-1862-MWF (MRWx). The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of the Exchange Act arising out of the Company’s

issuance of materially false and misleading financial statements. The parties settled this action

for $1 million in cash.

       Fouladian v. Busybox.com, Inc., Case No. BC 248048. The Rosen Law Firm was Co-

Lead Counsel in this class action brought in California Superior Court, Los Angeles County.

The action arose from a $12.8 million initial public offering of securities by the defendant issuer

and underwriter. California and federal securities laws claims (Cal. Corp. Code §25401 and §11

of 1933 Act) were brought on behalf of a nationwide class of public offering investors. The

Court approved a $1.0 million cash settlement to a nationwide class of investors.

       Singh v. Tri-Tech Holding, Inc., No. 13-CV-9031 (KMW). The Rosen Law Firm was

co-Lead Counsel in this class action in the U.S. District Court for Southern District of New

York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company concealing its true financial condition. The parties settled this action

for $975,000 in cash.

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       Xu v. ChinaCache International Holdings, Ltd., No. CV 15-7952-CAS. The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for Central District of

California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information.

While on appeal following the dismissal of the case, the parties agreed to settle the action for

$950,000 in cash.

       Howard v. Chanticleer Holdings, Inc.., No. 12-CV-81123-JIC. The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus issued for

the Company’s public offering of common stock and warrants. The parties agreed to settle this

action for $850,000 in cash.

       Pollock v. China Ceramics Co. Ltd, No. 1:14-cv-4100 (VSB). The Rosen Law Firm was

co-Lead Counsel in this consolidated class action in the U.S. District Court for Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s lack of internal controls. The parties settled this action for

$850,000, consisting of $310,000 in cash and $540,000 in stock.

       Grand Clam Capital Master Fund, Ltd. v. Rosen, No. 19-cv- 5362 (PGG). The Rosen

Law Firm is currently serving as sole Lead Counsel in this class action pending in the U.S.

District Court for the Southern District of New York brought on behalf of Fusion Connect, Inc.

investors.   The complaint alleges violations of the Exchange Act in connection with the

Company’s issuance of materially false and misleading financial statements. The parties settled

this action for $850,000, pending Court approval.




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       Katz v. China Century Dragon Media, Inc., Case no. CV 11-02769 JAK (SSx).                 The

Rosen Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the

Central District of California. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the

Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading financial statements. Following entry of

default against the issuer and certification of the class, the non-issuer defendants and Plaintiffs

agreed to resolve their claims against the non-issuer defendants for $778,333.33.

       Allen v. Pixarbio Corp., No. 2:17-cv-496-CCC-SM. The Rosen Law Firm was sole Lead

Counsel in this class action in the U.S. District Court for District of New Jersey. The complaint

alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties agreed

to settle this case for $750,000 in cash.

       Hartmann v. Verb Technology Company, Inc., No. CV-19-5896-GW-(MAAx). The

Rosen Law Firm is currently serving as sole Lead Counsel in this class action pending in the

U.S. District Court for the Central District of California. The complaint alleges violations of the

Exchange Act in connection with the Company’s issuance of materially false and misleading

business information. The parties agreed to settle this case for $640,000 in cash, pending Court

approval.

       In re Stemline Therapeutics, Inc. Securities Litigation, 17-cv-832 (PAC). The Rosen

Law Firm was co-Lead Counsel in this class action in the U.S. District Court for the Southern

District of New York. Following the dismissal of the action and while on appeal with the U.S.

Court of Appeals for the Second Circuit, the parties settled this action for $625,000 in cash.

       In re China Intelligent Lighting and Electronics, Inc. Securities Litigation, No. 2:11-CV-

02768 PSG (SSx). The Rosen Law Firm was co-Lead Counsel in this consolidated class action

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in the U.S. District Court for the Central District of California. The complaint alleged violations

of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements. The parties agreed to partially settle this action for $631,600 in cash. A default

judgment was obtained against the issuer.

       Gianoukas v. Tullio and Riiska, Case No. 02CC18223. The Rosen Law Firm was lead

counsel to a group of twenty-one plaintiffs that brought claims of fraud and negligent

misrepresentation in California Superior Court, Orange County against the former Chief

Executive and Chief Financial Officers of a publicly traded software company, NQL Inc. The

complaint alleged that the officers issued a series of false and misleading press releases

concerning the business of NQL for the purpose of inducing the purchase and retention of NQL

securities. Plaintiffs settled the action favorably for a confidential amount.

       The BoxLot Company v. InfoSpace, Inc., Case No. GIC 779231. The Rosen Law Firm

was plaintiff’s counsel for this action filed in California Superior Court, San Diego County

which arose from the aborted merger agreement and ultimate sale of The BoxLot Company’s

assets to InfoSpace. The action alleged violations of California securities laws (Cal. Corp. Code

§25400 & §25401) and common laws and sought damages of $92.8 million from InfoSpace and

its CEO, Naveen Jain. The case settled favorably for plaintiffs for a confidential amount.

       Hull v. Global Digital Solutions, Inc., No. 16-5153 (FLW). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for District of New Jersey. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading business information. The parties agreed

to settle this action for $595,000 in cash.




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       Scalfani v. Misonix Inc., No. 16-cv-5215 (ADS) (AKT). The Rosen Law Firm was sole

Lead Counsel in this class action in the U.S. District Court for the Eastern District of New York.

The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of false financial statements. The parties have settled this action for

$500,000 in cash—resulting in a recovery of nearly 100% of damages.

       Teague v. Alternate Energy Holdings, Inc., No. 10-CV-634-BLW. The Rosen Law Firm

was sole Lead Counsel in this class action in the U.S. District Court for the District of Idaho.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial statements and business

condition. The parties settled this action for $450,000.

       Huttenstine v. Mast, Case No. 4:05-cv-152 F(3). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Eastern District of North Carolina. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s material misstatements and omissions

concerning the nature of certain sales contracts it had entered into. Plaintiffs have preliminarily

agreed to settle this action for a $425,000 cash payment to class members.

       In re Forcefield Energy, Inc. Securities Litigation, No. 15-cv-3020 (NRB). The Rosen

Law Firm was Lead Counsel in this class action in the U.S. District Court for Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and misleading information. The

parties agreed to settle this case for $414,500.

       Kinzinger v. Paradigm Medical Industries, Inc., Case No. XX-XXXXXXX. The Rosen Law

Firm served as sole Lead Counsel in this class action filed in Utah state court alleged violations

of the Utah Securities Act against Paradigm Medical arising out of false and misleading

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statements made to investors in a $5.0 million private placement of securities. The court

approved a $625,000 settlement on behalf of the private placement purchasers.

III.  SECURITIES CLASS ACTIONS          IN WHICH      THE ROSEN LAW FIRM P.A.       IS   CURRENTLY
LEAD COUNSEL

       In re Puda Coal Securities Litigation, No. 11-CV-2598 (DLC). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Southern District of New York. The complaint alleges violations of the

Exchange Act and Securities Act arising out of the Company’s issuance of materially false and

misleading financial statements. The class is certified and this action is in discovery.

       In re Omega Healthcare Investors, Inc. Litigation, 17-cv-8983 (NRB). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and business information. The firm obtained reversal of the District Court’s dismissal from the

U.S. Court of Appeals for the Second Circuit. The action is in discovery.

       Van Dorp v. Indivior PLC, No. 19-CV-10792-ES-MAH.                 The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the District of New Jersey. The complaint alleges violations of the Exchange Act in connection

with the Company’s issuance of materially false and misleading business information. This

action is at the pleading stage.

       Sell v. Acer Therapeutics, Inc., No. 19-CV-6137 (GHW). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of New York. The complaint alleges violations of the Exchange Act in




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connection with the Company’s issuance of materially false and misleading business

information. The action is in discovery.

       Yangtze River Port and Logistics Limited, No. 19-CV-24 (DLI) (LB). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the Eastern District of New York. The complaint alleges violations of the Exchange

Act in connection with the Company’s issuance of materially false and misleading financial

statements. The action is at the pleading stage.

       Luo v. Qiao Xing Universal Resources, Inc., No. 12-45-WAL-GWC. The Rosen Law

Firm is currently serving as sole Lead Counsel in this consolidated class action pending in the

U.S. District Court of the Virgin Islands, St. Croix Division. The complaint alleges violations of

the Exchange Act in connection with the Company’s issuance of materially false and misleading

financial statements. The action is at the pleading stage.

       Machniewicz v. Uxin Limited, No. 19-CV-822 (MKB)(VMS). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Eastern District of New York. The complaint alleges violations of the Securities Act in

connection with the Company’s issuance of materially false and misleading financial statements.

The action is at the pleading stage.

       Pepicelli v. Innocoll Holdings Public Ltd., No. 17-341. The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Eastern District of Pennsylvania. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is in discovery.

       Ito-Stone v. DBV Technologies S.A., No. 19-CV-525-MCA-LDW. The Rosen Law

Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

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Court for the District of New Jersey. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       Tchatchou v. India Globalization Capital, Inc., No. 18-cv-3396-PWG. The Rosen Law

Firm is currently serving co-Lead Counsel in this class action pending in the U.S. District Court

for the District of Maryland. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The action is at the pleading stage.

       Ortiz v. Canopy Growth Corporation, No. 19-CV-20543-KM-ESK. The Rosen Law

Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the District of New Jersey. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       Duane & Virginia Lanier Trust v. Sandridge Energy, Inc., et al. The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

the Western District of Oklahoma. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act and Sections 11, 12(a)(2), and 15 of the Securities Act arising out of the

Company’s issuance of materially false and misleading business information. This action is in

discovery.

       In re Zillow Group, Inc. Sec. Litig., No. C17-1387-JCC. The Rosen Law Firm is

currently serving sole Class Counsel in this certified class action pending in the U.S. District

Court for the Western District of Washington. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and misleading business information. This case is in discovery.

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       Lai v. PPDAI Group Inc., No. 18-cv-6716 (FB)(JC). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for Eastern

District of New York.       The complaint alleges violations the Securities Exchange Act and

Securities Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Davis v. Katanga Mining Limited, No. 17-cv-12188-CCC-JBC. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the District of New Jersey. The complaint alleges violations of the Exchange Act in connection

with the Company’s issuance of materially false and misleading business information. This

action is at the pleading stage.

       Barney v. Nova Lifestyle, Inc., No. CV 18-10725-AB-AFM. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The action is in discovery.

       In re Maiden Holdings, Ltd. Securities Litigation, No. 19-CV-5296-RMB-JS. The Rosen

Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the District of New Jersey. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       Renner v. Teladoc Health, Inc., No. 18-cv-11603 (GHW). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the




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Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Acerra v. Trulieve Cannabis Corp., No. 20-cv-186-RH-MJF. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Northern District of Florida. The complaint alleges violations of the Exchange Act in

connection with the Company’s issuance of materially false and misleading business

information. This action is at the pleading stage.

       In re ChinaCast Education Corporation Sec. Litig., No. CV 12-4621- JFW (PLAx). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action.

Following dismissal of the complaint by the district court, the U.S. Court of Appeals for the

Ninth Circuit overturned the dismissal. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act arising out of the Company overstating it assets and cash balances

and misstating the Company’s internal controls. The action is in discovery.

       Feierstein v. Corrrevio Pharma Corp., No. 19-cv-11361 (VEC). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.

       Oh v. Hanmi Financial Corporation, No. CV 20-2844-AB (JCx). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action. The complaint alleges violations of

§§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading financial information. This case is at the pleading stage.

       In re RCI Hospitality Holdings Inc. Securities Litigation, No. 19-cv-1841-AHB. The

Rosen Law Firm is serving as co-lead counsel in this class action pending in U.S. District Court

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for the Southern District of Texas. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       In re Global Brokerage, Inc. f/k/a FXCM, Inc. Sec. Litig., 17-cv-916 (RA). The Rosen

Law Firm is currently serving as sole Lead Counsel in this class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and business information. The case is in discovery.

       Willard v. UP Fintech Limited, 19-cv-10326 (JMF). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for Southern

District of New York. The complaint alleges violations of §§11, and 15 of the Securities Act

arising out of the Company’s issuance of materially false and business information. The case at

the pleading stage.

       Marchand v. Momo, Inc., 19-CV-4433 (GBD). The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action pending in the U.S. District Court for Southern District

of New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and business information. The

case at the pleading stage.

       Vataj v. Johnson (PG&E), No. 19-cv-6996-HSG. The Rosen Law Firm is currently

serving as co-Lead Counsel in this class action pending in the U.S. District Court for Northern

District of California. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and business

information. The case at the pleading stage.




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       Ma v. Wells Fargo & Company, No. 20-CV-3697-RS. The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for Northern

District of California. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and business

information. The case at the pleading stage.

       Hashem v. NMC Health Plc, No. CV-20-2303-CBM (MAAx). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

Central District of California. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case at the pleading stage.

       In re Sundial Growers, Inc. Securities Litigation, 19-cv-8913 (ALC). The Rosen Law

Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for Southern District of New York. The complaint alleges violations of §§11, 12(a)(2) and

15 of the Securities Act arising out of the Company’s issuance of materially false and business

information. The case at the pleading stage.

       In re The RealReal, Inc. Securities Litigation, The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action pending in the U.S. District Court for Northern District

of California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act and §§11 and 15 of the Securities Act arising out of the Company’s issuance of materially

false and business information. The case at the pleading stage.

       Correa v. Liberty Oilfield Services, Inc., 20-CV-946-RBJ. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

District of Colorado. The complaint alleges violations of §§11 and 15 of the Securities Act




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arising out of the Company’s issuance of materially false and business information. The case at

the pleading stage.

       Kumar v. SAExploration Holdings, Inc., No. 4:19-cv-3089. The Rosen Law Firm is

serving as co-lead counsel in this class action pending in U.S. District Court for the Southern

District of Texas. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information. This case is at the pleading stage.

       Kim v. Allakos, Inc., No. 20-cv-1720-JSW. The Rosen Law Firm is currently serving as

sole Lead Counsel in this class action pending in the U.S. District Court for Northern District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and business information. The case at

the pleading stage.

       White v. Just Energy Group Inc., No. H-20-590. The Rosen Law Firm is serving as sole

lead counsel in this class action pending in U.S. District Court for the Southern District of Texas.

The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading business information. This case is

at the pleading stage.

       He v. China Zenix Auto International, No. 18-cv-15530 (JLL) (JAD). The Rosen Law

Firm is serving as sole lead counsel in this consolidated class action pending in U.S. District

Court for the District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is in discovery.

       Horowitz v. Sunlands Technology Group, No. 19-CV-3744 (FB)(SMG). The Rosen Law

Firm is serving as sole lead counsel in this class action pending in U.S. District Court for the

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Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       Kasilingam v. Tilray, Inc., No. 20-CV-3459 (PAC). The Rosen Law Firm is serving as

sole lead counsel in this class action pending in U.S. District Court for the Southern District of

New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information.

This case is at the pleading stage.

       Salim v. Mobile TeleSystems PJSC, No. 19-cv-1589 (AMD) (RLM). The Rosen Law

Firm is serving as sole lead counsel in this class action pending in U.S. District Court for the

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       Jun v. 500.com Limited, No. 20-cv-806 (SJF) (SMG). The Rosen Law Firm is serving as

sole lead counsel in this class action pending in U.S. District Court for the Eastern District of

New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information.

This case is at the pleading stage.

       Brandel v. Sibanye Gold Limited, No. 18-cv-3721 (KAM) (PK). The Rosen Law Firm is

currently serving as Co-Lead Counsel in this class action pending in the U.S. District Court for

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information. The case is at the pleading stage.




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       In re XP Inc. Securities Litigation, No. 20-cv-1502 (BMC). The Rosen Law Firm is

serving as co-lead counsel in this class action pending in U.S. District Court for the Eastern

District of New York. The complaint alleges violations of §§11, 12(a)(2) and 15 Securities Act

arising out of the Company’s issuance of materially false and misleading business information.

This case is at the pleading stage.

       In re Tupperware Brands Corporation Securities Litigation, No. 20-cv-357-GJK. The

Rosen Law Firm is serving as sole lead counsel in this class action pending in U.S. District Court

for the Middle District of Florida. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading business information. This case is at the pleading stage.

       In re Aceto Corporation Sec. Litig., No. 18-CV-2425 (JFB)(AYS). The Rosen Law Firm

is currently serving as sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for Eastern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

financial information. The case is at the pleading stage.

       Thomas v. China Techfaith Wireless, 19-CV-134-FB-CLP. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Eastern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false financial

information. The case is at the pleading stage.

       In re Akazoo S.A. Securities Litigation, No. 20-cv-1900 (BMC). The Rosen Law Firm is

serving as co-lead counsel in this class action pending in U.S. District Court for the Eastern

District of New York. The complaint alleges violations of Securities Exchange Act and




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Securities Act arising out of the Company’s issuance of materially false and misleading financial

and business information. This case is at the pleading stage.

       Gordon v. Tencent Music Entertainment Group, No. 19-CV-5465 (LDH) (SMG). The

Rosen Law Firm is currently serving as sole Lead Counsel in this consolidated class action

pending in the U.S. District Court for Eastern District of New York. The complaint alleges

violations of §§10b and 20(a) of the Securities Exchange Act and §§11 and 15 of the Securities

Act arising out of the Company’s issuance of materially false financial information. The case is

at the pleading stage.

       Lee v. IQIYI, Inc., No. 20-cv-1830 (LDH)(JO). The Rosen Law Firm is serving as co-

lead counsel in this class action pending in U.S. District Court for the Eastern District of New

York. The complaint alleges violations of Securities Exchange Act and Securities Act arising

out of the Company’s issuance of materially false and misleading financial and business

information. This case is at the pleading stage.

       Luo v. Sogou, Inc., No. 19-cv-230 (JPO). The Rosen Law Firm is serving as co-Lead

counsel in this class action pending in U.S. District Court for the Southern District of New York.

The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading business information. This case is

at the pleading stage.

       In re NIO, Inc. Securities Litigation, No. 19-CV-1424 (NGG) (VMS). The Rosen Law

Firm is currently serving as sole Lead Counsel in this consolidated class action pending in the

U.S. District Court for Eastern District of New York. The complaint alleges violations of §§10b

and 20(a) of the Securities Exchange Act and §§11 and 15 of the Securities Act arising out of the

Company’s issuance of materially false business information. The case is at the pleading stage.




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       Kupfner v. Altice USA Inc., No. 18-cv-6601-FB-PK. The Rosen Law Firm is serving as

sole lead counsel in this class action pending in U.S. District Court for the Eastern District of

New York. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

and §§11, and 15 of the Securities Act arising out of the Company’s issuance of materially false

and misleading business information. This case is at the pleading stage.

       Castillo v. 6D Global Technologies, Inc., No. 15-cv-8061 (RWS). The Rosen Law Firm

is serving as sole Lead Counsel in this class action that is pending in U.S. District Court for the

Southern District of New York.      The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false statements

about the improper stock manipulation. After successfully appealing the dismissal of this action

with the Second Circuit Court of Appeals, this case is in discovery.

       City of Taylor General Employees Retirement System v. Astec Industries, Inc., No. 1:19-

cv-PLR-CHS. The Rosen Law Firm is serving as sole lead counsel in this class action pending

in U.S. District Court for Eastern District of Tennessee. The complaint alleges violations of

§§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading business information. This case is at the pleading stage.

       Vanderhoef v. China Auto Logistics, Inc., No. 18-cv-10174-CCC. The Rosen Law Firm

is serving as sole lead counsel in this class action pending in U.S. District Court for the District

of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange

Act arising out of the Company’s issuance of materially false and misleading business

information. This case is at the pleading stage.

       Miller v. Sonus Networks, Inc., No. 18-12344-GAO. The Rosen Law Firm is serving as

co- lead counsel in this class action pending in U.S. District Court for District of Massachusetts.

The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out

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of the Company’s issuance of materially false and misleading business information. This case is

at the pleading stage.

       Sgarlata v. PayPal Holdings, Inc., No. 17-CV-6956-EMC. The Rosen Law Firm is

currently serving as co- Lead Counsel in this class action on appeal with the U.S. Court of

Appeals for the Ninth Circuit. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and business

information.

       Wochos v. Tesla, Inc., No. 3:17-cv-5828-CRB. The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action currently on appeal with the U.S. Court of Appeals for

the Ninth Circuit. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading business

information.




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